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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


 UNITED STATES ex rel
 BOYDE JERRY HARRISON
                                                     Case No. 8:17-cv-2332-T-35-AAS
                                                     FILED UNDER SEAL
 v.

 CARESYNC, INC.,
                       Defendant.


       NOTICE OF VOLUNTARY DISMISSAL AS TO RELATOR AND WITHOUT
                   PREJUDICE AS TO THE UNITED STATES
        COMES NOW the Plaintiff-Relator in the above-styled action pursuant to Rule 41 of the

 Fed. Rules of Civ. Procedure and files this Notice of Voluntary Dismissal pursuant to Rule 41(a)

 and 31 U.S.C. §3730(b)(1) to voluntarily dismiss the above-styled Complaint. Plaintiff-Relator

 states unto the Court that the Defendant has not been served. Defendant has not filed an Answer

 or Motion for Summary Judgment.

        Counsel for the Plaintiff-Relator has spoken with counsel for the Government and

 confirmed that the Government consents to the dismissal of this action.

        Dated this 10th day of December 2019.


                                             /s/ Don McKenna
                                             Don McKenna (ASB-6494-C66D)
                                             Attorney for Relator/Plaintiff Boyde Jerry Harrison

 OF COUNSEL:
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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on December 10, 2019, I caused a copy of the foregoing
 Notice of Voluntary Dismissal as to Relator and Without Prejudice as to the United States to be
 sent to the following persons by U.S. First Class Mail, postage prepaid:

 Maria Chapa Lopez
 United States Attorney
 Charles T. Harden III
 Assistant United States Attorney
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 James D. Young
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 76 S. Laura St., Ste. 1100
 Jacksonville, FL 32202

                                                            /s/Don McKenna
                                                            Don McKenna
